          Case 1:24-cv-01837-DLF Document 10 Filed 10/15/24 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 TY ALPER,

                  Plaintiff,

        v.                                               Civil Action No. 24-1837 (DLF)

 DEPARTMENT OF JUSTICE,

                  Defendant.


                                   JOINT STATUS REPORT

       Plaintiff, Ty Alper, and Defendant, the U.S. Department of Justice, through counsel,

respectfully submit this joint status report pursuant to the Court’s August 30, 2024, Minute Order.

Per the Court’s September 27, 2024, Minute Order, Defendant has completed processing of

Plaintiff’s FOIA request and has sent a letter to Plaintiff stating that all responsive records are

withheld in their entirety. After reviewing the agency’s decision to withhold the requested records

in full, Plaintiff has elected to proceed to summary judgment briefing.

                                 Defendant’s Separate Proposal

       Accordingly, in order to allow sufficient time for the FBI’s RIDS’ FOIA Unit to prepare a

declaration in support of the government’s motion for summary judgment—a process which

includes the initial drafting of the Declaration, the undersigned counsel for FBI and RIDS’

management editing and approval, and then the RIDS’ Section Chief’s review and signature—

Defendant requests the following schedule to govern summary judgment briefing:

             •   Defendant’s Motion for Summary Judgment to be due on January 14, 2025;

             •   Plaintiff’s Cross-Motion for Summary Judgment to be due on February 14, 2025;
         Case 1:24-cv-01837-DLF Document 10 Filed 10/15/24 Page 2 of 3




           •   Defendant’s Combined Opposition and Reply to be due on March 14, 2025; and

           •   Plaintiff’s Reply to be due on April 14, 2025.

                                 Plaintiff’s Separate Proposal

       Plaintiff notes that only 513 pages of material are at issue and, critically, the FBI has

acknowledged that Plaintiff is entitled to expedited processing of his request to prevent “[t]he

substantial loss of due process of rights.” Joint Status Report of August 29, 2024 (ECF No. 8).

Given those circumstances, Plaintiff submits that waiting 90 days for summary judgment briefing

to begin is not appropriate.     As such, Plaintiff requests the following briefing schedule:

Defendant’s Motion for Summary Judgment to be due 45 days after the Court issues an order

establishing a briefing schedule; Plaintiff’s Cross-Motion for Summary Judgment to be due 30

days after Defendant’s Motion for Summary Judgment; Defendant’s Combined Opposition and

Reply to be due 30 days after Plaintiff’s Cross-Motion for Summary Judgment; and Plaintiff’s

Reply to be due 15 days after Defendant’s Combined Opposition and Reply.

 Dated: October 15, 2024
                                               Respectfully submitted,


   /s/ David L. Sobel                          MATTHEW M. GRAVES, D.C. Bar #481052
 DAVID L. SOBEL, D.C. Bar No. 360418           United States Attorney
 5335 Wisconsin Avenue, N.W.
 Suite 640                                     BRIAN P. HUDAK
 Washington, DC 20015                          Chief, Civil Division
 (202) 246-6180

 Counsel for Plaintiff                         By: /s/ Fithawi Berhane
                                                   FITHAWI BERHANE
                                                   Assistant United States Attorney
                                                   601 D Street, NW
                                                   Washington, DC 20530
                                                   (202 252-6653

                                               Attorneys for the United States of America




                                                2
Case 1:24-cv-01837-DLF Document 10 Filed 10/15/24 Page 3 of 3




                             3
